

Matter of Raquel ZZ. (Angel ZZ.) (2022 NY Slip Op 03035)





Matter of Raquel ZZ. (Angel ZZ.)


2022 NY Slip Op 03035


Decided on May 5, 2022


Appellate Division, Third Department




Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:May 5, 2022

532993
[*1]In the Matter of Raquel ZZ., Alleged to be a Neglected Child. Sullivan County Department of Social Services, Respondent; Angel ZZ., Appellant. (Proceeding No. 1.)
In the Matter of Raquel ZZ., Alleged to be a Neglected Child. Sullivan County Department of Social Services, Respondent; Noreen ZZ., Appellant. (Proceeding No. 2.)

Calendar Date:March 21, 2022

Before:Garry, P.J., Pritzker, Reynolds Fitzgerald, Ceresia and Fisher, JJ.

Cliff Gordon, Monticello, for Angel ZZ., appellant.
Ivy M. Schildkraut, Rock Hill, for Noreen ZZ., appellant.
Michael F. McGuire, County Attorney, Monticello (Kristin L. Hackett of counsel), for respondent.
Marcia Heller, Rock Hill, attorney for the child.



Pritzker, J.
Appeal from an order of the Family Court of Sullivan County (Meddaugh, J.), entered February 19, 2021, which, in a proceeding pursuant to Family Ct Act article 10, removed the subject child from respondents' care.
Respondent Angel ZZ. and respondent Noreen ZZ. are the parents of the subject child (born in 2006). In February 2021, petitioner filed neglect petitions against respondents. Following a hearing pursuant to Family Ct Act § 1027, Family Court issued an order for temporary removal of the child to petitioner's custody. Respondents appeal.
While this appeal was pending, in February 2022, Family Court issued an order finding that respondents neglected the child. After a dispositional hearing in March 2022, the court continued the placement of the child. In view of the foregoing, respondents' appeal from the February 2021 order is moot, and it does not fall into the exception to the mootness doctrine (see Matter of Journi PP. [Steffen PP.], 194 AD3d 1222, 1222 [2021]; Matter of Jadalynn HH. [Roy HH.], 135 AD3d 1089, 1089 [2016]).
Garry, P.J., Reynolds Fitzgerald, Ceresia and Fisher, JJ., concur.
ORDERED that the appeal is dismissed, as moot, without costs.








